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to Void Lien Page 1 of 2

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF ILLINOIS
Eastern Division

In Re: Ramona Herrera )
) BK No.: 14BK41848
)
) Chapter 13
)
Debtor(s) )
)
)
Ramona Herrera )
)
Plaintiffs, )
)
V. )
JP Morgan Chase Bank, N.A )
)
Defendant. )
ORDER TO AVOID LIEN

This cause coming before the court on the Debtor’s Motion to strip lien, all appropriate
parties having been given notice thereof, and the Court being duly advised,

IT IS HEREBY ORDERED BY THE COURT:

1. Defendant, JP Morgan Chase Bank, N.A holds, holds a judicial lien against debtor’s

real estate described as:

Lot 30 In BLOCK 64 IN WESTLAKE UNIT NO 18, BEING A SUBDIVISION OF

PART OF THE NORTHEAST % OF SECTION 28, TOWNSHIP 40 NORTH,

RANGE 10, EAST OF THE THIRD PRINCIPAL MERIDIAN, ACCORDING TO

THE PLAT THEREOF RECORDED JULY 26, 1977 AS DOCUMENT R77-62645,

IN DUPAGE COUNTY, ILLINOIS.

Permanent Index Number: 02-28-215-011

Commonly Known As: 146 APPLEBY DRIVE, GLENDALE HEIGHTS, IL 60139
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2. Asaresult of this Judgment Order, there is no security for the debt to JP Morgan
Chase Bank, N.A. The debt of JP Morgan Chase Bank, N.A will be treated as a
general, unsecured claim and paid as such under debtors’ plan.

3. Solely upon final discharge in the underlying bankruptcy case will JP Morgan Chase
Bank, N.A, its successors or assigns, record a release of the Judgment recorded in the
Office of the Dupage Recorder of Deeds as Document number R2006-234356 on
Date November 8, 2006

4. Ifthe underlying case is dismissed or converted to one under Chapter 7, the judicial

lien will be reinstated against the real estate.

5. Chase shall retain its lien on any surplus proceeds form a potential foreclosure sale by
the senior lien holder prior to the Debtor’s completion of their Chapter 13 Plan and

entry Chapter 13 discharge.

Date:

Hon.
United States Bankruptcy Judge

By:

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